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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et              §
al.,                                        §
                                            §
                       Plaintiffs,          §
                                            §
      v.                                    §      Civil Action No: 5:21-cv-00844-XR
                                            §
GREGORY W. ABBOTT, et al.,                  §
                                            §
                       Defendants.
                                            §
                                            §
                                            §

DEFENDANTS JACQUELYN CALLANEN AND JOE D. GONZALES’ NOTICE
              REGARDING MOTIONS IN LIMINE

      Defendants Bexar County Elections Administrator Jacquelyn Callanen and Bexar

County District Attorney Joe D. Gonzales (the “Bexar County Defendants), pursuant to

the Order entered on August 23, 2023, hereby submit that they will not file motions in

limine. Nothing in this notice is to be construed as an admission of any allegation against

the Bexar County Defendants in this action, and the Bexar County Defendants reserve all

applicable defenses.



Dated: September 1, 2023                     Respectfully submitted,

                                             JOE D. GONZALES
                                             Bexar County Criminal District Attorney



                                             By: /s/   Lisa V. Cubriel
                                             LISA V. CUBRIEL
                                             State Bar No. 24045731
                                             Assistant District Attorney – Civil Division
                                             ROBERT W. PIATT III
                                             State Bar No. 24041692
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                              Elections Administrator Jacquelyn
                              Callanen and Defendant Bexar County
                              District Attorney Joe D. Gonzales




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                           CERTIFICATE OF SERVICE

      I certify that on September 1, 2023, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of this filing to

counsel of record.

                                        /s/   Lisa V. Cubriel
                                        LISA V. CUBRIEL




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